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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov

IN RE:                                                         Chapter 11 Case

VITAL PHARMACEUTICALS, INC.,                                   Case No.: 22-__________

      Debtor.
_______________________________________/

                            CORPORATE OWNERSHIP STATEMENT

        In accordance with Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, Vital
Pharmaceuticals, Inc., a Florida corporation (the “Company”) does hereby certify that there are no
corporations that directly or indirectly own 10% or more of any class of the Company’s equity
interests.

         I, the Chief Transformation Officer of Vital Pharmaceuticals, Inc., the Company named as
the debtor in this case, declare under penalty of perjury that I have reviewed the foregoing and that it
is true and correct to the best of my knowledge, information and belief.

         October 10, 2022                      VITAL PHARMACEUTICALS, INC.
                                               1600 N. Park Drive
                                               Weston, FL 33326

                                               By: /s/ John C. DiDonato
                                                       John C. DiDonato
                                                       Chief Transformation Officer




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